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                   IN THE UNITED STATES DISTRICT COUrJ
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                        FOR THE DISTRICT OF WYOMING ■ -' -G-.*-5wl US'»


 UPPER GREEN RIVER ALLIANCE,
 WESTERN WATERSHEDS PROJECT,
 and CENTER FOR BIOLOGICAL
 DIVERSITY,

               Petitioners,

        vs.                                    Case No. 2:19-CV-I46-SWS

 UNITED STATES BUREAU OF LAND
 MANAGEMENT and WILLIAM PERRY
 PENDLEY, in his official capacity as
 Deputy Director of the U.S. Bureau of
 Land Management,

               Respondents,

 and


 JONAH ENERGY, LLC and STATE OF
 WYOMING


              Respondent-Intervenors.


                     ORDER UPHOLDING AGENCY ACTION


       This matter is before the Court under the Administrative Procedure Act("APA"),5
U.S.C. § 706, to review the Bureau of Land Management's approval of the Normally
Pressured Lance Project ("NPL Project"). Respondent Jonah Energy proposed the NPL
Project to extract natural gas resources on the sage-brush scrublands in northwest
Wyoming. Petitioners contend the BLM acted arbitrarily and capriciously in approving the
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 project because the agency did not take a "hard look" at impacts to wildlife, particularly

 greater sage grouse and pronghoms. All parties have fully briefed the matter.'(ECF Nos.

 52, 57, 58, 59, 62.)

             On review, this Court determines the BLM complied with NEPA and the agency

 took a "hard look" at all potential environmental impacts. The agency properly considered

 several alternatives and responded to public comments throughout the administrative

 process. Accordingly, the Court affirms the BLM's decision approving the NPL Project.

                                          Factual Background


      a. Greater Sage Grouse Habitat

             The greater sage grouse is a bird native to the western United States, including
 northwest Wyoming. (BLM126800.) The bird's survival is largely dependent on
 sagebrush, which is found throughout Sublette County, Wyoming, including the NPL
 Project Area.^(BLM126798.)Loss ofsagebrush across the country has contributed to sage
 grouse population decline over the past century.(BLM126802.)However,the Upper Green

 River Valley in Wyoming attracts thousands ofsage grouse every winter.(BLM127089.)

          Sage grouse Winter Concentration Areas^ ("WCAs") are places where groups of
 sage grouse congregate and live during the winter, primarily between early December and

 mid-March.(BLM 128627.) Sage grouse prefer locations in the winter where sage brush

'The Court concludes oral argument would not materially assist in the consideration ofthis review. See Local Civil
Rule 83.6(c). The Court careftilly considered the parties' briefing and reviewed the thousands of documents
comprising the administrative record. Consequently, the Court has all the information necessary to render its
 decision.
2 The Project Area is an eleven-mile area considered the "analysis area" for the sage grouse population which may
 be affected by the NPL Project.{See BLM128401; BLM128627.)
^ Governor Mead defined this term to recognize the unique nature of these wintering grounds to sage grouse.
(Wyoming Executive Order 2015-4 at 5.)
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 grows higher than the snow and even though the WCAs are outside of primary sage grouse

 habitat, these areas are "important to maintaining sustainable Sage-Grouse populations."

(BLM128628.) Any type of surface disturbance in WCAs is prohibited during the winter

 to protect the habitat for the sage grouse.(Wyoming Executive Order 2015-4 at 6-7.)

       Sage grouse are sensitive to human activities, including oil and gas development.

 Sage grouse avoid wintering anywhere within 1.18 miles(1900 meters) ofsuch activities.

(BLM077925.)The greater the well pad density in an area, the less likely sage grouse will
 use that habitat during winter. {See generally BLM017143.) This avoidance could further

 decrease the Wyoming sage grouse population.(BLM 072677; see also BLM017105.)

       Decline in the sage grouse population over the past century has sparked national
conversations about protecting the species. In 2010, the U.S. Fish and Wildlife Service

listed the greater sage grouse as "warranted, but precluded" in favor of higher priority
species. 75 F. Reg. 13,910 (March 23, 2010). The primary threats to sage grouse were
habitat loss and fragmentation, which were exacerbated by the lack ofregulation to protect
sage grouse. Id. In response to the "warranted, but precluded" designation, the BLM

released a finalized list of amendments (2015 Wyoming Sage-Grouse Resource

Management Plan Amendments) to protect sage grouse habitat. (BLM139375;
BLM139384.)

       The 2015 Wyoming Sage-Grouse Resource Management Plan Amendments

("RMP") designated "priority" and "general" habitat management plans for sage grouse,
including additional protective measures.(BLM139457; BLM139469.) A priority habitat
management area("PHMA")is one with the "highest conservation value to maintaining or
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increasing sage grouse populations."(BLM139469.) These PHMAs do not include WCAs.

The only protection required by the RMP in WCAs is a prohibition on surface disruption

during the winter, when sage grouse use the habitat. (BLM139410.) Any additional

protection measures for WCAs are determined as needed in consultation with the Wyoming

Game and Fish Department("WGFD").(BLM139410.)

        The RMP also requires phased development for any oil and gas exploration within

sage grouse habitat.(BLMI39502-04; BLM053287.)This is a protective measure known

as a required design feature ("RDF") enumerated in the RMP. (BLM053287-88.)

However, an RDF is not required if either: (1) it is not applicable to the site-specific

conditions of the project or(2) an alternative protective measure is determined to provide
equal or better protection to sage grouse or its habitat.(BLM053287.)

    b. Pronghorn Migration

        The pronghorn is an ungulate native to North America, found throughout the

western United States.(BLM078857.) This case specifically analyzes the impacts to the

Sublette Pronghorn Herd Unit(Herd Unit 401) which includes most pronghorn in Western

Wyoming.(BLM128610.) Herd Unit 401 is found in and around the Project Area.'' {Id.)

Pronghorn located in Grand Teton National Park make a yearly migration through the

Upper Green River Valley and Bridger-Teton National Forest. (BLM078859;

BLM061274; BLM081323; BLM082388; BLM128610-11.) This migration, known as

"Path of the Pronghorn," follows a 6,000-year-old migration corridor extending between


 Herd Unit 401 is a WGFD-designated population.(BLM128610.)TheNPL Project Area falls entirely within Herd
Unit 401 management area.(Jd.)
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 100 and 150 miles through north-west Wyoming. (BLM078857; BLM078859;

 BLM133184; BLM133184.)During this migration, pronghom traverse the route over the

 course ofthree days.(BLM078859.)In the spring, the pronghom travel the same route at

a slower pace to return to Grand Teton National Park. {Id.) The Path of the Pronghom is

 designated as a protected national migration corridor^ by the U.S. Forest Service, although

the protection does not extend to the Upper Green River Valley, where the NPL Project

would be located.^(BLM081401; BLM078890.)

         The Path ofthe Pronghom is the only remaining route for pronghom in Grand Teton

National Park to reach the Upper Green River Valley. (BLM078859.) There are no

alternate migratory routes available for these pronghoms. {Id.) "Development in crucial
winter range and migration routes could . . . eliminate the herd's migration memory and
break the tradition of migration to the most suitable winter habitats, thus reducing the
viability of pronghom Herd Unit 401 in perpetuity." (BLM128980.) The Path of the
Pronghom runs through part ofthe NPL Project Area.{BLM130957.)

         Although studies on this topic are limited, research indicates pronghom are sensitive

to oil and gas development and this development can hinder pronghom movement and


^ WGFD does not use the term "migration routes" and the BLM properly included suggestions from state agencies
like WGFD when adopting these same designations.(BLM 128611; BLM076835-36); 40 C.F.R. § 1501.8.
"Migration corridors are areas ofthe landscape that a substantial portion of the herd or herd segment uses
consistently to move between seasonal habitats."(BLM128611 at n. 35.) Migration routes are a term used by the
BLM to "identify migration pathways consistently used by wildlife to make seasonal movements between winter
and summer ranges."{Id.) Migration corridors are an official WGFD designation, while migration routes are not.
{id.) The WGFD submitted a comment after the draft EIS was released, clearing up this confusion and specifying
the difference between routes and corridors.(BLM076836.)
^ The federal protection does extend to one specific area in the Upper Green River Valley: 9,500 acres at Trapper's
Point are designated as an Area of Critical Environmental Concern.(BLM 134805.)To protect this area, two
highway overpasses and six underpasses are located in this area to eliminate threats to Pronghom passing through
the Highway 191 corridor.(BLM007286.)
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 migration. (See BLM133428; see also BLM133462; BLM133503.j Pronghom tend to

 avoid areas of oil and gas development by approximately 0.25 to 0.6 miles and avoid well

 pads within 100 meters.(BLM072696.) When pronghom encounter development along
 migration routes, they may avoid these areas entirely, which can negatively impact

 foraging opportunities. (BLM127302; see BLM061274-75.) Oil and gas development
 along pronghom migratory routes has the potential to significantly diminish the health of

 a herd.(BLM126616;jee BLM 061274-75.)

     c. Normally Pressured Lance Project

          Respondent-Intervenor Jonah Energy ("Jonah") submitted a proposal to extract
natural gas resources from certain areas of its federal leases in Wyoming.(BLM128268-
69.) The NFL Project Area, spans approximately 140,859 acres in Sublette County,
Wyoming.(BLM128193)Currently, there are about 116 total wells already drilled within
the Project Area, including fifty-five natural gas wells.(BLM 128268.) The NPL Project
would be located near two existing development projects: the Jonah Infill Development
Project and the Pinedale Anticline Project. (BLM 127835.) The proposal requests
permission to begin the project using delineation wells to determine the extent of the

natural gas resources in the NPL project area, because no similar exploration has been
done."^ (BLM128301) Ultimately, Jonah plans to drill up to 3,500 directionally drilled
natural gas wells using multi-well pads in the NPL Project Area. (BLM128193.) The
proposal includes plans to develop up to 350 new wells per year, including the necessary


^ Jonah plans to use the information from the delineation wells as a basis for potential future development
(BLM128301.)
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facilities, such as well pads, access roads, and pipelines. {Id.) The NPL Project

development phase would span ten years, but the overall production phase would be thirty

years. (BLM043705.) Jonah estimates the total lifespan of the NPL Project to be forty

years.(BLM127835.)

         The NPL Project Area is primarily sagebrush scrubland. (ECF No. 15 at 2;

BLMI28627; BLM128564.) The State of Wyoming effectively owns the pronghom and

sage grouse species (as it does all wildlife) within the NPL Project Area. Wyo. Stat. Ann.

§ 23-1-103 (2021). The State's goal is providing "an adequate and flexible system" to

manage wildlife. Id. Wyoming prioritizes wildlife protection by maintaining habitat

functionality through avoidance and minimization.(BLM000712). WGFD places special

emphasis on big game crucial winter ranges and sage grouse nesting and brood-rearing

habitats. {Id.)

        The NPL Project Area includes three non-WGFD pronghom migratory routes and

"areas of active migration," including the Path ofthe Pronghom, used by the Grand Teton

Herd.(BLM129017-18; BLM128610-11; BLM130957; BLM130969.)Importantly, there

are no WGFD-designated pronghom migration corridors in the NPL Project Area.

(BLM128611.) Two herds of pronghom were recorded using the NPL Project Area in

2010. (BLM128610.) The BLM acknowledged the project area contains approximately

20,800 acres ofpronghom cmcial winter range.®(BLM129017.)However,the Project Area

includes areas that are important to pronghom year-round.(BLM 128972.)


® Pronghom crucial winter range are areas designated by the WGFD as areas that are a determining factor to the
pronghom population's long-term survival. Julie Young, et al.. Wildlife and Energy Development Pronghom ofthe
Upper Green River Basin - Year 3 Summary, WILDLIFE CONSERVATION SOCIETY (July 2008).
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         Sage grouse also have substantial habitat in the Project Area, including nesting

ground, leks,^ and WCAs. (BLM 128481; BLM128501.) The Project Area includes

Wyoming's largest concentration of wintering sage grouse. {Id.)

     d. Public Input on the NFL Project

         On February 27,2008,the BLM began scoping'^ for the NPL Project proposal. {See

BLM000472). On March 28,2008, the BLM received a comment from the WGFD,asking

the BLM to analyze WGFD recommendations.(BLM00070L)The WGFD included a copy

of "Recommendations for Development of Oil and Gas Resources within Crucial and

Important Wildlife Habitats" in their comment. (BLM000701; BLM000705.) These

recommendations were compiled by senior wildlife biologists, utilizing available scientific

data, and are intended to "avoid, minimize, and mitigate actual and anticipated impacts to

habitat functions resulting from large-scale oil and gas development."(BLM000706-07.)

         In April 2011, the BLM opened up a public comment period to gain a better

understanding of the issues the environmental impact statement ("EIS") should address.

(BLM043669.) This scoping period included three scoping meetings in Wyoming for the




^ Male sage grouse are best known for mating display dances performed every spring in various "leks." A lek is a
"bare area where male Sage-Grouse perform courtship displays to attract females."(BLMI28628.)A lek is
considered active if it is used by a male sage grouse during mating season. {Id.) There are fifty-six leks within
eleven miles of the Project Area, forty-four of which are considered occupied. An occupied lek is one where a male
has been active during at least one mating season in the past ten years.(BLMI28628.) Within the NPL Project
Area, there are ten occupied leks. {Id.)
  Scoping is the process by which the BLM identifies "planning issues that should be considered in the land
management plan" and then "analyzes these issues and uses them to develop a range of alternative management
strategies." Public Involvement, BUREAU OF Land MANAGEMENT, https://www.blm.gov/programs/planning-and-
nepa/public-participation (last visited Jan. 19, 2022).
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 public to come and voice concerns. {Id.) In response, the BLM received several comments

 expressing concern" about the project, including:
     a. A comment from the National Park Service, noting the oil and gas development may

         prevent pronghom from following the migration route and returning to Grand Teton

         National Park.(BLM004546.) This comment requested the EIS analyze how the

         NPL Project would affect the Grand Teton Pronghorn herd.(BLM004547.)

     b. Comments requesting phased                      development and             drilling (BLM004887;

         BLM079468.)

     c. A general comment expressing concern for the NPL Project's impacts on pronghom

         migration.(BLM003888-89.)

     d. Comments requesting directional drilling to protect migratory routes,including Path

         of the Pronghom (BLM007149; BLM007289; BLM079468.)

     e. Comments expressing concern about the impact to sage grouse habitats and

         requesting buffers between well sites and leks. (BLM004887; BLM007149;

         BLM079468; BLM003888.)

         As apart ofthe review, BLM conducted surveys to determine sage grouse wintering

grounds within the NPL Project Area, but those surveys did not provide a complete picture

of sage grouse wintering habits because they were only conducted during a short time

frame. (BLM 008132; BLM 017185.) This short time frame was a "flight day."


"From the 1,238 comments and concerns received during the scoping period, the BLM identified 29 issue
statements, which it used to develop the scope ofthe EIS.(BLM043669.)The relevant issue statements to this case
include:(1)"Will the NPL Project affect special status species and their habitat?";(2)"To what extent should the
BLM limit surface disturbance within the project area"; and(3)"How will the NPL Project affect wildlife and
habitat?"(BLM043670; BLM043778.)
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(BLM008132.)"Flights represent a 'one shot in time' assessment of where wintering birds

are located on the flight day and do not encompass where [sage grouse] are located

throughout the winter."(Id.)

         In March 2015, the BLM and the WGFD recommended the state protect certain

"core areas" of designated sage grouse habitat by limiting surface disturbance to 5%.'^

(Wyoming Executive Order 2015-4 at 5.) The State found the necessary protections could

be adequately determined through the NPL Project environmental review.(See id at 6-7,

14.)

    e. Draft Environmental Impact Statement

         In July 2017, the BLM released the Draft BIS for further public review and

comment. (BLM043666). The Draft BIS introduced four possible alternatives for the

project:(1)a"no action" alternative;(2)"proposed action" alternative, i.e., the NPL Project

submitted by Jonah;(3) Alternative A, which addressed sensitive wildlife resources, and

(4) Alternative B, which addressed concerns to conserve a broad range ofresource values

and constrain development to the least environmentally sensitive areas.(BLM043672-73.)

Alternative B was the BLM's preferred alternative.(Id.)

        The BLM also considered nine additional alternatives that were ultimately

eliminated before the BLM conducted a detailed analysis.(BLM 043676.) One of these

alternatives focused on additional protection measures for sage grouse WCAs.(Id.) The




  Despite requests to recognize the importance of"core areas" ofsage grouse habitat, the State of Wyoming
declined to issue a blanket protection over these areas.{See BLM 127089; see also BLMO15584.)


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BLM eliminated this alternative because it "would not be technically or economically

feasible."(Id.)

       The BLM determined the proposed action would potentially directly impact wildlife

because of short-term and long-term surface disturbance. (BLM043697.) Alternative A

slightly decreased these impacts by reducing surface disturbance by 4.2% and reducing

access roads by approximately twelve miles. {Id.) Alternative B resulted in even greater

reduction of surface disturbance(7.9%) and reduced "density of development" in the first

development area. {Id.) Alternative B also included twenty-two fewer miles of access

roads. {Id.)

       The BLM found these same impacts on Big Game, including pronghom.

(BLM043698.) The proposed action would result in several indirect impacts on the

pronghom population, "including habitat loss, fragmentation, increased avoidance by and

displacement of individuals and groups, decreased habitat quality, and migration

disruptions[.]" {Id.) In addition to the impacts discussed for wildlife generally. Alternative

A would limit the "density of development and reduced surface disturbance in pronghom

cmcial winter range in [specified development areas within NPL Project Area.]" {Id.)

Altemative B also included the same reductions in surface disturbance and access roads

noted above, but also decreased development in a "more clustered pattern[.]" {Id.)

       The Draft EIS also acknowledged the Grand Teton Pronghom Herd (Herd 401) and

its reliance on the NPL Project Area.(BLM044132.) The EIS noted Herd 401's unique

migration route and recognized that three pronghom migration routes cross the analysis




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area. (BLM044133.)'^ "Habitats associated with the [NPL Project Area] are important to

pronghom year-round, including during migration, when large herds of species are moving

long distances between seasonal ranges." {Id.) The Draft EIS identified Highway 191 as a

current barrier to pronghom migration—pronghom may use the NPL Project Area to

migrate to seasonal ranges to avoid crossing Highway \9\.{Id.)

       Turning to greater sage grouse specifically, the Draft EIS noted the species could

be impacted by the proposed action, including by habitat loss and degradation, although

this impact would be least severe within the Sage-Grouse PHMA.(BLM043700-01.)The

proposed action could increase sage grouse mortality because of"decreased quantity and

quality of suitable habitat, increased avoidance and displacement,[and] increased habitat

fragmentation[.]"(BLM043701.) Even following the BLM Wyoming Sage-Grouse RMP

Amendments, development and surface disturbance could still adversely affect the sage

grouse population within the Sage-Grouse PHMA.{Id.)

       Under Alternative A, short term surface disturbance affecting sage grouse would

increase because of the buried pipelines and overall, the effects on sage grouse under

Alternative A would be similar to the Proposed Action.(BLM043702.)Under Alternative

B, surface disturbance would be reduced, and a clustered pattern of development areas

would result in fewer disturbance locations overall.(Id.) Short term adverse impacts to the

sage grouse population may increase under Alternative B, but ultimately result in reduced

long term adverse effects.(BLM 043703.)




 The Final EIS confirmed this statement.(BLMI30957; BLM130969.)


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         The Draft EIS stated the NPL Project "could result in decreased quantity and quality
of suitable breeding, wintering, and foraging habitat for Sage-Grouse, resulting fi-om

surface disturbance, vegetation clearing, and other project related activity[.]"

(BLM043705.)The EIS noted the adverse impacts "could persist for up to 40 years[.]"{Id.)
The degradation of sage grouse habitats, including sage grouse winter habitats within the

NPL Project Area, could impact sage grouse life cycles and populations in Wyoming.

(BLM043706.)

         After the BLM released the Draft EIS, it opened up the public comment period again

for another forty-five days.(BLM043667)The public response focused on the Draft's lack

of analysis on any effects to the Grant Teton pronghom herd's migration routes.(BLM

077006; 077012-13; BLM076754; BLM080028; BLM076986). Comments also

recognized the Project's potential to disturb wintering sage grouse. (BLM077009-12;

076758-59.) Other comments requested the BLM to consider a phased drilling alternative.

(BLM076987; BLM 079467-68.)

        The BLM received a comment fi-om the WGFD asking for a more careful

delineation between pronghorn migration corridors and routes.(BLM076836.)

         While we appreciate the effort to protect migrating pronghorn, placing
        excessive protections on individual pronghom migration routes [such as
        those non-WGFD migration routes in the Project Area'^] may hamper our
        efforts to designate corridors elsewhere in the state that may be more
        important to pronghorn populations overall. The Department would prefer
        that the project be designed so that pronghorn movement patterns are not
        constricted in the project area, rather than trying to compensate for impacts
        to routes of individual animals.



  WGFD uses the term "migration route" to identify specific paths used consistently by individual animals making
seasonal movements, while migration corridors are used by a "substantial portion ofthe herd[.]"(BLM076835-86.)


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(Id)

    f. Final Environmental Impact Statement

       After considering the second round ofcomments, in June 2018, the BLM published
the Final EIS.(BLM128191.)Similar to the Draft EIS,the Final EIS included four potential
alternatives:(1)No Action;(2)Proposed Action;(3)Alternative A; and (4)Alternative B.
(BLM128197-98.) However, in contrast to the Draft EIS, the Final EIS included two

potential scenarios under Alternative B.(BLM129198.)Alternative A was still listed as an

alternative developed to address sensitive wildlife resources. (BLM129197.) This
alternative ended with the same number of wells but changed the location, timing, and
pattern of development and drilling. (Id.) The Project Area would be divided into several

development areas ("DA"), and the development in each DA would be driven by the
"presence or absence of delineated wildlife habitats[.]" These adjustments would lengthen
the development time period for the NPL Project, because less wells would be drilled each

year. (Id.) Development would be completed sequentially in three phases overall, with

development in the sage grouse PHMA divided into further phases.(Id. at BLM 128197-
98.)

       Alternative B was still listed as the BLM preferred alternative and attempted to
conserve a broad range of resources and restrict development to the least environmentally
sensitive locations within the Project Area. (BLM128198.) Alternative B focused on

conservation overall, rather than on the wildlife specifically. (Id.) The project under
Alternative B would include the same number of wells, but certain DAs would have

reduced density ofdevelopment to "reduce impacts to a range ofsensitive resources in this


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area." (Id.) In addition, the BLM considered two potential development scenarios within

this alternative: Scenario 1, which would utilize a seasonal timing limitation on

development during the sage grouse wintering period, and Scenario 2, which would utilize

the same seasonal timing limitation but also add a disturbance threshold "and other

measures" to reduce environmental impacts. {Id.)

       The Final EIS noted pronghom were present in the NPL Project Area year-round

but some "20,688 acres of crucial winter/year-long habitat, essential for the long-term

viability of the population, are located throughout the north-central portion of the Project

Area, with additional smaller areas along the southwestern Project Area boundary[.]"

(BLM128610.)Pronghom in the Project Area make a uniquely long migration through the
Upper Green River Basin, traveling between seventy-two and one-hundred sixty miles.

(BLM128611.) And while there are three total pronghom migration routes that pass
through the Project Area, none of these are WGFD-designated pronghom migration

corridors. {Id.) The Grand Teton Herd does utilize winter ranges within the Project Area.

{Id.) The Final EIS did acknowledge "[djegradation of seasonal habitat and disruptions in

migratory routes ... are of particular concem for pronghom due to the presence of crucial

winter range ... and the presence of migration routes that connect pronghom crucial winter

range and other pronghom habitats in the analysis area and the region."(BLMI28980.)

      The EIS also noted that, while drilling would be prohibited in the crucial winter

ranges from November 15 through April 30,surface disturbance could still affect migration

routes. {Id.) Because of these possible adverse effects "Jonah Energy has committed to

work with the BLM, the WGFD, and other stakeholders to better understand and, if


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possible, preserve migration routes in the Project Area, and would avoid activities and

facilities that create barriers to the seasonal movements of all big game, including
pronghom[.]"{Id.) However,the NFL Project could reduce "the viability ofthe pronghom
Herd Unit 401 in perpetuity." {Id.)

         The Final EIS included a phased development pattem in Altemative A,which would

reduce potential impacts to pronghom. (BLM129003.) Overall, Altemative A would

reduce impacts to pronghom migration and crucial winter range, as compared to moving
forward with the NPL Project as proposed. {Id.) Under Altemative B, the impacts to

pronghom migration would be the same as moving forward with the NPL project as
proposed. (BLM129018.) The proposed action (and altematives) would be unlikely to

result in direct adverse impacts to migration corridors and migration bottlenecks'^ because

there are no bottlenecks within 6.2 miles of the Project Area.(BLM128878.)

         Turning to the sage grouse,the EIS noted the grouse can be found in the NPL Project
Area at all times of the year and that 34% of the Project Area includes PHMA.

(BLMl28627.) Overall sage grouse populations in Wyoming have declined since 1960,

but peak male lek attendance has risen each year since 2013.(BLMI28624.) Sage grouse

populations are in decline across the country largely due to human activities including
"disturbance due to oil and gas development."(BLMl28626.)"Research has shown that

functional habitat loss occurs due to human activities, including noise, which cause Sage-
Grouse to avoid areas even when sagebrush remains intact[.]" {Id.) The Final EIS used a


  A bottleneck is "any portion of a ... migration corridor where animals are significantly physically or behaviorally
restricted." Wyoming Executive Order 2020-1 (Feb. 13, 2020)(defining bottlenecks in the context of mule deer and
antelope).



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density disturbance calculation tool to calculate approximately .55% ofPMA in the NPL

Project Area already has existing surface disturbance.(BLM128629.)

       A two-mile radius buffer from any noise or drilling activities around known leks is

necessary to ensure sage grouse attendance. (BLM128500.) When there is noise from

drilling or road activity within two to three miles of a lek site, male sage grouse avoid the

leks.{Id.) Because there were ten known leks within the NPL Project Area, noise must stay

below lOdBA about the existing baseline noise level to confonn with the Wyoming Sage-

Grouse RMP Amendments.(BLM128501.)

       Next the Final EIS recognizes, while there is potential for impacts on wintering sage

grouse, those impacts "are not well understood" due to "limited research[.]"

(BLM 128302.) To attempt to mitigate this limited knowledge, the BLM would conduct a

study "concurrently with development activities to better understand the impacts of

developing in Winter Concentration Areas."(7^/.) This study "would inform analysis during

site-specific NEPA reviews."{Id.) Additionally, for all alternatives considered, "the BLM

would defer authorizing development in Winter Concentration Areas until additional

research is conducted to better inform the appropriate level of development, potential

impacts, and appropriate mitigation[.]"(BLM128994.)

       Moving on to discuss the impact of the NPL project on sensitive species, the Final

EIS points out male lek attendance declines "up to four miles from oil and gas well surface

locations" and in some cases may be even greater than four miles. (BLM128975.) The

document also notes the highest concern for pronghom is degradation of seasonal habitat

and the potential for disruption to the migratory route.(BLM128980.) The NPL Project

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would likely cause "displacement and disrupt [pronghorn] migration patterns" within the

Project Area. {Id.) "Although the BLM prohibits the development of new wells in

pronghorn crucial winter range from November 15 to April 30, drilling and other surface-

disturbing activities could occur in areas outside of designated range, including migration

routes."(/c/.) However, the Wyoming RMP Amendments would prohibit any drilling from

December 1 through March 15, which would "minimize potential impacts to overlapping

pronghorn migration routes from the [NPL Project] during the wintering period."(Id.)

       After the Final EIS was released, the BLM opened it to public comment for thirty

days.(BLM 127870.) The BLM received nine comment letters during the thirty-day period

and one additional comment letter shortly after the comment period closed. {Id.) These

comments included input on development in Winter Concentration Areas and concerns

about how the NPL Project would affect pronghorn and sage grouse. {Id.)

   g. Record of Decision

      The BLM ultimately adopted Alternative B in the Record of Decision ("ROD"),

released in August 2018. The process from proposal to decision took ten years. Overall,

this alternative was the best choice to avoid and reduce impacts to the environment and

sensitive wildlife while still allowing for recovery ofnatural gas resources.(BLM127865.)

The decision required the project area be divided into three development areas ("DAs"),

requiring different development density in each DA.(BLM127836.)DA 1, which includes

WCAs and pronghorn habitat, is limited to an average of one disturbance location per 640

acres. (BLM127837.) DA 3, which includes sage grouse PHMA, has the same density




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disturbance limit as DA 1. DA 3 also restricts total disturbances to 5% surface disturbance

per 640 acres, including existing disturbances.(BLM127838.)

       Specifically, the BLM authorized Scenario 1 of Alternative B, outlined in the Final

EIS.(BLM127844.)Scenario 1 allows for a concurrent study with limited development in

WCAs, in order to improve limited research in the area.(BLM 127843.) Scenario 1 also

applies seasonal timing limitations on development in the winter, to conform to the RMP

amendments.(BLM127844.)However, the decision may be adapted for Scenario 2, based

on the results ofthe study. {Id.)

       Jonah Energy is allowed to move forward on NPL Project only by complying with
a long list ofresource protection measures, listed in Appendix A ofthe Record ofDecision.

(BLM127854.)Besides the measures already discussed specific to Alternative B, Scenario

1, the additional resource protection measures include:(1) limiting drilling activities and

surface use during winter migratory periods and big game birthing areas and (2)requiring
Jonah to avoid activities and facilities that prevent seasonal big game migration.

(BLM127897.)

      The decision also incorporated several restrictions to protect sage grouse leks, sage
grouse habitat, and WCAs.(BLM127841.) As a baseline requirement,"development will
be consistent with the BLM Wyoming Sage-Grouse RMP Amendments[.]"(BLM 127897.)
This includes noise level constraints, limits on road construction, buffer perimeters to

development around leks, and limits on development during winter months.(BLM127841-

42.) The final decision incorporated "goals, objectives, management decisions, and




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required design features from the BLM Wyoming Sage-Grouse RMP Amendments."

(BLM127866.)

                              Procedural Background


       Petitioners originally filed a complaint in the United States District Court for the

District of Idaho on April 30, 2018. (EOF No. 1.) The complaint included several

contentions with BLM action and the effect on sage grouse habitat, including those before

this Court. {See ECF No. 2.) The District of Idaho severed all claims related to the NFL

project, pursuant to F.R.C.P. 21. {Id. at 6.) The court transferred all NPL claims to the

District of Wyoming because the project was more closely connected to Wyoming and

"Wyoming's interests predominate over Idaho's." {Id. at 17-18.)

       On July 15, 2019, all NPL claims were transferred to this Court.(ECF No. 1.) On

February 19, 2020, Petitioners filed   Amended Petitionfor Review.(ECF No. 15.) After

several months ofsupplementing the administrative record. Petitioners filed their Opening

Merits Brief{ECV No. 52) on April 8, 2021. Respondent filed its brief in opposition on

June 23, 2021 (ECF No. 57) and Respondent-Intervenors each filed respective response

briefs as well(ECF No. 58; ECF No.59). Petitioners filed a reply briefon August 20,2021.

(ECF No. 62.) The matter is now ripe for consideration.

                              Petitioner's Arguments


       Petitioners make two main arguments against the BLM's ROD.First, they argue the

BLM violated the National Environmental Protection Act by failing to take a "hard look"

at the consequences of the project.(ECF No. 52 at 33.) This includes the BLM's alleged

failure to consider reasonable alternatives to the project. {Id.) Within this argument,


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petitioners assert three sub-arguments; (1) BLM failed to consider the NPL Project's
impact on the Path ofthe Pronghom and the pronghom herd in Grand Teton National Park;

(2) BLM failed to consider reasonable proposed alternatives to protect the Path of the

Pronghom and other similar migratory routes through the NPL Project Area; and(3)BLM

failed to take a "hard look" at the NPL Project's potential negative impacts to the Wyoming
sage grouse population. {Id. at 34, 30, 49.) Second, the BLM violated FLPMA by

disregarding the 2015 Sage Grouse RMPs.

       Petitioners assert the final EIS did not analyze how the NPL Project could

potentially eliminate the pronghom from Grand Teton National Park.{Id. at 32.) While the

EIS did acknowledge the NPL Project could impact pronghom winter ranges and

"migratory routes generally," it failed to analyze the significance of the Path of the

Pronghom as one of the "few remaining long-distance migrations in the world[.]" {Id. at

35-36.) The impacts on this migratory route could have "'indirect recreational and

ecological effects on Grand Teton National Park, which the EIS also fails to acknowledge."

{Id. at 38.) The EIS should have specifically analyzed the Path of the Pronghom and the

impacts on Grand Teton National Park separately, rather than focusing on the Sublette

pronghom herd generally. {Id. at 39-40.)

      Petitioners also take issue with BLM's failure to consider proposed alternatives to

protect the Path of the Pronghom and other migratory routes. {Id. at 40.) Comments

suggested buffer zones to development along migratory routes. {Id. at 40 (citing

BLM080028; BLM079469)). None of the alternatives identified in the EIS absolutely

prevented development along migratory routes, "much less a buffer zone around them."


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{Id. at 42.) The two alternatives either prevented any action altogether or only gave the

"mere possibility of voluntary protection of migratory routes" which was unreasonably
narrow.{Id. at 43.)This narrow analysis and failure to address why other alternatives were

not included in the EIS was a violation of NEPA's "hard look" standard. {Id. at 44.)

Ultimately,the EIS limited the range ofaltematives and failed to give adequate explanation
for this unreasonable limit. {Id. at 48.)

       The third sub-argument focuses on the BLM's failure to consider all reasonably
foreseeable impacts to the sage grouse WCAs.{Id. at 49.)Petitioners argue the BLM lacked

sufficient baseline data to even analyze the impacts to these areas, and failure to collect

this data violated the BLM's obligations under NEPA.{Id.) Even after acknowledging the
lack of data in this area, the best the EIS did was promise a concurrent study on the effects

of sage grouse in conjunction with approval of the NPL Project. {Id. at 50-51.) The BLM

could not adequately assess the effects on sage grouse WCAs in the EIS because it did not

have the data to do so. {Id.) The limits to disturbance location density adopted by the ROD
could still allow for significant impacts to WCAs. {Id. at 52.) The BLM ignored the

incomplete information on sage grouse, even though it was relevant to reasonably
foreseeable effects ofthe NPL Project. {Id. at 55.)

       Second, Petitioners argue BLM violated the Federal Land Policy and Management

Act ("FLPMA") by failing to comply with the 2015 RMP Amendments. {Id. at 58.)

FLPMA requires the BLM to implement all activities in accordance with governing RMPs,

including the 2015 Sage Grouse RMP.{Id. at 58.)The 2015 RMP requires the NPL Project
to implement a phased development approach but the BLM rejected this alternative. {Id. at

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59-60.) The NPL Project ROD gives a blanket statement that it is in conformity with the

2015 RMP but never discusses the phased development requirement. {Id. at 60.) This was

a clear violation of FLPMA's requirements and failure to conform renders the NPL ROD

void. {Id. at 62.) Respondents assert various counter-arguments in three separate briefs.

(ECF No. 57; EOF No. 58; EOF No. 59.) These counter-arguments will be addressed as

relevant.


                                    Legal Standard


       1. The Administrative Procedure Act

       The Administrative Procedure Act(APA)governs this review. See 5 U.S.C. § 702;

see also Lujan v. Nat'l Wildlife Federation, 497 U.S. 871, 882-83(1990)(reiterating that

NEPA does not provide a private right of action). The review in this case is sought under

the general review provisions ofthe APA,and so the agency action at issue must be a final

action. Lujan v. Nat'l Wildlife Fed'n, 497 U.S. 871, 882 (1990). Section 706 of the APA

guides this Court's analysis ofthe issue. 5 U.S.C. § 706. The reviewing court must set aside

the agency action if it was arbitrary, capricious, an abuse of discretion, or disregarded the

law. Id.


       An agency action is arbitrary and capricious if:(1)the agency relied on factors not

enumerated by Congress;(2) did not consider an important aspect of the problem; (3)

offered justifications for the action that were contrary to the evidence; or (4) is so

implausible that it cannot be attributed to differing opinions or levels of expertise. Motor

Vehicle Mfrs. Ass'n ofU.S., Inc. v. State Farm Mut. Auto. Ins. Co.,463 U.S. 29,43(1983).

The court uses the administrative record for a factually exhaustive but legally narrow


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review. Biodiversity Conservation Alliance v. Bureau ofLand Management^ No. 09-CV-

08, 2010 WL 3209444, at *5(D. Wyo. June 10, 2010).

      The reviewing court determines whether the agency considered all relevant factors

and made a clear error ofjudgment. Biodiversity Conservation Alliance^ No. 09-CV-08,

2010 WL at *4. The agency's detennination must be supported by facts on the record—

there must be a rational connection between the facts and the agency's decision. Olenhouse

V. Commodity Credit Corp., 42 F.Bd 1560, 1574 (1994). Using a substantial evidence

standard ofreview,the court determines whether there is enough evidence that a reasonable

mind might find support the agency's decision. Doyalv. Barnhart,331 F.3d 758,760(10th

Cir. 2003). Evidence may be considered substantially in support of the agency's decision,

even if there is also evidence to support a contrary decision. Wyoming Farm Bureau

Federation v. Babbitt, 199 F.3d 1224, 1241 (10th Cir. 2000) ("the mere presence of

contradictory evidence does not invalidate the Agencies' actions or decisions"). However,

the court is not permitted to use post hoc justifications for the agency's decision or

substitute its judgment for that of the agency. Bar MK Ranches v. Yuetter, 994 F.2d 735,

740 (10th Cir. 1993); see Schneider v. Nat'l, Inc. v. Interstate Commerce Comm'n, 948

F.2d338, 343 (7th Cir. 1991).

      2. National Environmental Protection Agency

      The National Environmental Protection Agency ("NEPA") exists "to create and

maintain conditions under which man and nature can exist in productive harmony, and

fulfill the social, economic, and other requirements of present and future generations of

Americans." 42 U.S.C. § 4331(a). NEPA's purpose is twofold. "First, it places upon an


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agency the obligation to consider every significant aspect of the environmental impact of
a proposed action. Second, it ensures that the agency will inform the public that it has

indeed considered environmental concerns in its decision making process." Baltimore Gas

& Elec. Co. V. Natural Res. Def. Council, Inc., 462 U.S. 87,97(1983).

       To ensure compliance with NEPA, all agencies of the federal government are
required to provide a detailed environmental impact statement on any major federal action
which significantly affects the quality of the human environment. 42 U.S.C. § 4332(C).
"The environmental impact statement shall succinctly describe the environment of the

area(s) to be affected or created by the alternatives under consideration, including the
reasonably foreseeable environmental trends and planned actions in the area(s). 40 C.F.R.
§ 1502.15. The agency should focus on important issues rather than "useless bulk in

statements." Id. An environmental impact statement should be followed by a record of

decision, stating the decision and all considered alternatives. 40 C.F.R. § 1505.2. The
record of decision must also state "whether the agency has adopted all practicable means

to avoid or minimize environmental harm from the alternative selected, and if not, why the

ageney did not." Id.

       Under NEPA, the record of decision will be arbitrary and capricious if the agency
did not take a "hard look" at all relevant information when making the decision. New

Mexico ex rel. Richardson v. Bureau ofLand Management, 565 F.3d 683, 704 (10th Cir.

2009). Importantly, NEPA does not require certain outcomes or any specific substantive

action by the agency.Id. The agency only requires procedural steps and "merely prohibits

uninformed—rather than unwise—agency action." Id. (quoting Robertson v. Methow

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Valley Citizens Council^ 490 U.S. 332,351 (1989). The agency's decision is presumptively

valid and the party challenging the decision has the burden of proof. Citizens' Committee

to Save Our Canyons v. Krueger, 513 F.3d 1169, 1176 (10th Cir. 2008). The reviewing

court must differentiate between actual deficiencies in the agency's analysis which affected

the informed decision-making process and "mere flyspecks[.]" Utahnsfor Better Transp.

V. U.S. Dept. of Transp., 305 F.3d 1152 (10th Cir. 2002). "Agencies are not required to

elevate environmental eoncems over other valid concerns." Cure Land, LLC v. United

States Dep't ofAgriculture, 833 F.3d 1223, 1235 (10th Cir. 2016)(internal citations and

quotations omitted).

                                        Standing


       Petitioners assert they have standing (ECF No. 52 at 32), and Respondents do not

contest this issue. To show they have standing, petitioners must have suffered a eoncrete

and particularized injury that is actual or imminent. Lujan v. Defenders of Wildlife, 504

U.S. 555, 560 (1992). Petitioners also must show the injury is "fairly traceable" to the

respondent's action and this injury can be addressed through a favorable judicial decision.

Id. Petitioners allege and establish such injuries which are fairly traceable to the BLM's

ROD for the NPL Project and would be redressable by this Court. {See ECF No. 52 at 32;

    also ECF No. 52-1; ECF No. 52-2; ECF No. 52-3; ECF No. 52-4.) Accordingly, the

Court concludes Petitioners have standing to challenge this action.

                                        Analysis


   1. Pronghorn




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              a. BLM Did Not Fail to Consider the Project's Impacts on the Path of the

                   Pronghorn and Grand Teton National Park.

         Petitioners argue the Final EIS only included three sentences acknowledging the

pronghorn "make some of the longest seasonal migration movements documented for the

species."(EOF No. 52 at 36 (quoting BLM128611)). The EIS did not identify specific

migratory routes, map out the winter ranges used by Herd 401, or analyze adverse effects

of the project to Herd 401 and its migration routes.(ECF No. 52 at 36.) The BLM also

failed to discuss the downstream, indirect effects of the loss of Herd 401. {Id. at 38.) The

BLM was required to consider such effects under 40 C.F.R. § 1508.8.^^ Respondents argue

the Path of the Pronghorn does not run through the NPL Project Area.(ECF No. 57 at 14

(citing BLM128611)). Furthermore, Petitioners cannot point to any ways a mandatory

buffer zone alternative would have better protected migratory routes. {Id.) The BLM did

briefly consider a wildlife and resource protection alternative but eliminated it from more

detailed analysis. {Id.) The BLM also considered mitigation measures that were similar to

Petitioners' proposed alternatives and considering these mitigation measures was

sufficient. {Id. at 18.)

         For the BLM's consideration of the significance of the Path of the Pronghorn to

survive under the arbitrary and capricious standard, the BLM must have examined the

relevant data and shown a rational connection between the facts, data, and the ultimate

decision. New Mexico ex rel. Richardson v. Bureau ofLand Management, 565 F.3d 683,


  40 C.F.R. § 1508.8 is currently listed as "[reserved]" and has been listed as such since February 25, 2022, after the
parties had submitted their briefs to the Court.



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 713 (10th Cir. 2009). "Under the arbitrary and capricious standard of review, this Court

 must give the Agencies' decision substantial deference." Utahns for Better Transp. v.

 United States Dep't ofTransp., 305 F.3d 1152, 1173 (10th Cir. 2002).

          An agency is required to consider the future indirect impacts ofa project in addition

 to direct impacts. Custer County Action Ass'n v. Garvey, 256 F.3d 1024, 1035 (10th Cir.

 2001)(citing 40 C.F.R. § 1508.7).'^ NEPA only requires the agency put forth a reasonable,

 good faith, objective presentation oftopics. Utahnsfor Better Transp., 305 F.3d at 1174.

          The EIS did consider the potential adverse impacts to pronghom. The EIS

 considered the reduced viability of the pronghom herd should pronghom lose migratory

 routes or cmcial winter range.(BLMl28980.)The EIS acknowledged that pronghom avoid

 highly developed areas but frequently utilize the Project Area, which is largely

 undeveloped at this time. {Id.) "Disrupted migration could prevent herds from reaching

 high quality forage ....[and] development in . . . migration routes could also eliminate

 the herd's migration memory[.]" {Id.) The EIS acknowledged the Proposed Action would

likely displace or disrupt pronghom populations.{Id.)

          Petitioners argue the BLM did not analyze specific migratory routes used by

Pronghom throughout the Project Area. (ECF No. 52 at 36.) The BLM specifically

 differentiated between migration corridors and migration routes.(BLM129233.)The Final

EIS points out there are no WGFD-designated pronghom migration corridors in the NPL

Project Area. (BLM128611.) This statement did not come from a lack of analysis, but



"40 § C.F.R. § 1508.7 is also currently listed as "[reserved]" and the language quoted in Custer no longer explicitly
exists.




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rather from a recommendation submitted by the WGFD.(BLM076836.) As the State of

Wyoming points out in its response brief, the WGFD requested the BLM not conflate

routes and corridors. (ECF No. 58 at 30.) "While we appreciate the effort to protect

migrating pronghom, placing excessive protections on individual pronghom migration

routes may hamper our efforts to designate corridors elsewhere in the state that may be

more important to pronghom populations overall." {Id.)

       The Final EIS followed the guidance of the WGFD—it did not fail to analyze
specific migratory routes. NEPA requires the BLM to respond to comments made by other
agencies. 40 C.F.R. § 1503.4. A response can include improving or modifying its original

analysis. 40 C.F.R. § 1503.4(a)(3). The Final EIS responded to the WGFD by modifying
its analysis to reflect the changes requested. This change does not indicate the BLM failed

to consider the Path of the Pronghom. The BLM simply took the recommendations ofthe

WGFD. The BLM also acknowledged in the Final EIS that there were three pronghom
migration routes in the Project Area. This does not meet the standard for completely failing
to consider an alternative under the arbitrary and capricious standard.

       The Final EIS also considered indirect impacts on pronghom,including "decreased
or degraded seasonal habitats (including migration routes)that are important in supporting
local and regional wildlife populations." (BLM128979.) It noted the degradation and

disruption of migratory routes was of"particular concern" for pronghom.(BLM129020.)
The Final EIS was not required to use the specific term "Path of the Pronghom" to
demonstrate it adequately considered important migratory routes. See Citizens for a
Healthy Cmty v. United States Bureau ofLand Management, 377 F.Supp.3d 1223, 1235

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(D. Colo. 2019). The BLM discussed the recorded pronghorn movement between Grand

Teton National Park and the Upper Green River Basin in the Final EIS, but also found

Grand Teton National Park pronghorn did not use winter ranges in the Project area.

(BLM128611.) Additionally, the Final EIS acknowledged Highway 191, already located

east ofthe Project Area, may be a complete barrier to migration on its own.{Id.) The Final

EIS did not completely fail to consider the potential indirect impacts ofthe NPL project or

loss of pronghorn migration.

        The Final EIS mentioned several times that migration routes could face degradation

or decreased use. (BLMI28979.) This does not align with Tenth Circuit precedent in

Richardson, where the public was not given any information on major impacts of an

alternative. See Richardson, 565 F.3d at 708. The Final EIS informed the public that

pronghorn migration could be drastically affected. The public had an opportunity to

comment on this after the Final EIS was released.(BLM127870.) Petitioners' citation to

expert research stating the Grand Teton pronghorn herd will certainly be eliminated if

migration is obstructed (BLM078859) does not imply the BLM's analysis failed to

completely consider an important aspect of the problem. See Theodore Roosevelt

Conservation Partnership v. Salazar,605 F.Supp.2d 263, 274(D.C. Cir. 2009)(reminding

counsel that the Court does not attempt to resolve conflicting scientific opinions).'^

        NEPA does not require the BLM to discuss all potential environmental impacts at

length or in specific detail—it only requires the BLM consider all relevant factors and



  Petitioner cites other studies to show the potential negative impact ofthe NPL project on pronghorn migration, but
no other study comes to such a drastic conclusion that the entire pronghorn herd could disappear. See BLM 126616.


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 articulate a legitimate connection between the faets and the ultimate decision. Dine Citizens

 Against Ruining Our Environment v. Bernhardt, No. 1:19-CV-703, 2021 WL 3370899, at

 *5 (D.N.M. Aug. 3, 2021) (internal citations and quotations omitted). This Court's

 responsibility is to ensure the BLM took a "hard look" at the pronghom migratory routes

 and any potential consequences to these routes as a result of the agency action. Kleppe v.

Sierra Club, 427 U.S. 390, n. 21 (1976). The Final EIS discussed the potential loss of

 migratory routes in several places, not merely three sentences as Petitioners suggest.'^ The
BLM sufficiently took a hard look and considered the impacts ofpotential migratory route

degradation, including the Path ofthe Pronghom.

              b. BLM Did Not Fail to Consider Reasonable Proposed Alternatives for

                  Protection of Pronghom Migratory Routes.

         An environmental impact statement must provide a "full and fair discussion of

significant environmental impacts and shall inform decision makers and the public of
reasonable altematives[.]" 40 C.F.R. § 1502.1. As part of this analysis, agencies must
balance between evaluating alternatives in detail while still limiting their consideration to
a reasonable number of alternatives. 40 C.F.R. § 1502.14.

         When a court reviews the adequacy of alternatives given in an EIS, the court uses a

"rule of reason." High Country Conservation Advocates v. United States Forest Service,

951 F.3d 1217,1223 (10th Cir. 2020). This reasonableness standard examines both(1)the


  Petitioners argue the BLM cannot subsume the analysis ofthe Grand Teton Herd and the Path ofthe Pronghom
within the analysis of the Sublette Herd, and, at the very least, the EIS should have explained this approach. This is
not the legal standard. The BLM is not required to individually analyze every possibly sub-herd—the BLM only
needs to analyze the relevant data and analyzing the three migration corridors and the pronghom population utilizing
the Project Area is sufficient to show the BLM considered the relevant data. Richardson, 565 F.3d at 713.


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alternatives the agency discusses and (2) the extent to which the agency discusses them.

Id. An agency is not required to provide a detailed study of alternatives that are not

reasonable. Id. Neither is an agency required to analyze alternatives if the alternative has

been rejected in good faith as remote,speculative, impractical, or ineffective. Id. An agency
is only required to consider multiple similar alternatives if they are significantly

distinguishable from one another. Id.

       This standard does not mandate the court come to a particular conclusion. Greater

Yellowstone Coalition v. Flowers, 359 F.3d 1257, 1277 (10th Cir. 2004). The court only
considers whether an agency's decisions were arbitrary.Id. The agency's decision is bound

by reason and practicality. Id. (internal citations and quotations omitted). The court should

only be concerned with whether the agency gathered sufficient information to decide on a

reasoned choice of alternatives discussing environmental impacts. Id.

      Petitioners assert the BLM should have evaluated an alternative with a "buffer zone"

around pronghom migratory routes. The BLM should have at least considered measures

that "required avoidance of development within pronghom migratoiy routes."(ECF No.

52 at 42.) Instead, the BLM authorized the project with only the mere possibility of

voluntary migratory route protection. {Id. at 43.) The buffer zone alternative was a

reasonable altemative, and the BLM should have included at least some analysis to comply

with NEPA.Respondents disagree, stating "the range of alternatives was not unreasonably

narrow because it considered alternatives that balanced the competing goals of governing

RMPs."(ECF No. 58 at 43.) Respondent Jonah Energy referenced the "lengthy list" of

studies the BLM considered to evaluate the effect on the pronghom. {Id. at 31.) This


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included consulting with WGFD and considering the potential impacts on Herd 401. {Id.
at 31-33.) Even if Petitioners do not approve of the result, it doesn't negate the BLM's

"hard look" at these issues. {Id. at 37.) NEPA does not mandate certain results, yet
Petitioners only challenge the substance of the decision. {Id.)

         The Biodiversity Conservation Alliance submitted a public comment, asking the
BLM to consider a two-mile buffer around pronghorn migration corridors in the Project
Area.(BLM079469.) The BLM did not directly address a buffer zone alternative in the

Final EIS.{See BLM128201.)However, the BLM did address this comment on the record.

(BLM127599.)^^ The Western Watersheds Project also submitted a comment requesting a
one-mile buffer around the narrower pronghorn migration pathway.(BLM127535.) The
BLM eliminated this alternative because it was substantially similar to Alternative A,

considered in detail to address sensitive wildlife concerns. Additionally, the BLM

considered but eliminated a wildlife resource and protection alternative, discussed in both

the Draft and Final EIS. (BLM127525; BLM128201.) The BLM noted the comments

raising concern over migratory routes in the ROD.(BLM 127870.) The BLM did not

completely fail to address this "proposed 'middle ground' alternative[.]"(EOF No. 52 at

44.)

         When a considered alternative includes aspects ofa suggested action, the BLM does

not need to consider the suggestions as distinct alternative approaches. Citizens for a



  Petitioners argue Respondents attempt to use post-hoc rationalization for rejecting a buffer zone by citing to
Alternative A and the Wildlife Resource and Protection Alternative, because neither of these alternatives explicitly
mention a buffer zone.(ECF No.62 at 15.) The BLM's response to the buffer zone comment on the record upends
this argument—BLM gave the same rationalization before issuing the ROD.


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Healthy Cmty., 377 F.Supp.Sd at 1235. Petitioners here have not shown explicitly

incorporating a buffer zone was significantly different from Alternative A or the wildlife

resource and protection alternative. Pronghorn were designated as a "focus species" in

Alternative A,meaning the BLM would implement more resource protection measures for

pronghorn in that scenario. (BLM128340-4I.) Under this alternative, density of

development would be reduced overall to protect big game.(BLM128343.)The BLM also

acknowledged the pronghorn migration corridor as a "sensitive biological resource" in the

ROD Appendices and stated the corridors will be avoided to minimize disturbance.

(BLM128045.)

       Petitioners contend the BLM was required by the Pinedale and Green River RMP's

to include buffer zones, but the RMP's are not so specific.(ECF No. 52 at 46.)Both RMPs

merely require any projects to protect big game migration.(BLM133285; BLM132624.)

The Pinedale RMP explicitly states the magnitude ofimpacts required to protect migratory

routes could differ based on the project. (BLM133285.) The protection measures could

range from project relocation to seasonal timing limitations,(/t/.) Nowhere in the Pinedale

RMP are buffer zones around migratory routes mandatory. At most, the Pinedale RMP

prohibits surface occupancy along big game migration routes and bottlenecks "unless other

restrictions were applied[.]" (BLM132818.) Likewise, the Green River RMP only

mandates reducing habitat loss by applying appropriate restrictions.(BLM 132624.) The

Green River RMP does not mandate any specific restrictions to preserve big game

migratory routes, including buffer zones.(BLM132657.)(BLM127835-36.) There is no




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 indication the BLM failed to comply with the Pinedale or Green River RMP. In fact, the

ROD explicitly states the NPL Project must comply with both RMPs.(BLM127836.)

       The ROD also stated Jonah Energy would work with BLM and WGFD to

understand and potentially preserve migration routes in the Project Area.(BLM127897.)

Petitioners argue these resource protection measures are "illusory" but the Court disagrees.
(EOF No. 52 at 43.) The Record of Decision sets forth restrictions to protect big game,

including limiting development density in different DAs within the Project Area and
requiring site-specific BLM approval before any project-related operations. Petitioners
assert the ROD only prevents Jonah Energy from physically blocking migration routes, but
not necessarily narrowing or impeding the same.(EOF No. 62 at 18.) Petitioners dissect

the wording of the ROD, arguing preventing barriers is not the same as preserving
migration routes to prevent displacement. {Id.) This argument is unconvincing. Parsing
words and sentences does not create a problem with the BLM's chosen alternatives. The

BLM properly considered several alternatives and mitigation measure to preserve
migratory routes.

       Based on the wildlife prevention measures considered in Alternative A and the

protection measures implemented in the ROD,there is no indication BLM acted arbitrarily
or capriciously when it did not consider a buffer zone alternative. The BLM specifically

addressed this public comment, finding it was similar to other analyzed alternatives. The
only evidence petitioners offer to support their contentions is that the Final EIS never

explicitly discussed buffer zones around migratory routes. The omission of one very
specific protective measure from the EIS does not show the BLM wholly failed to consider

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 a reasonable alternative. See 40 C.F.R. § 1502.14(f). "An agency need not include an

infinite range of alternatives, but is required to cover those which are feasible and briefly

explain why other alternatives, not discussed, have been eliminated. Middle Rio Grande

Conservancy Dist. v. Babbitt, 206 F.Supp.2d 1156, 1175(D.N.M. 2000)(citing 40 C.F.R.

§ 1502.14). The agency's failure to specifically discuss buffer zones around migratory

routes was a reasonable decision considering the detailed analysis of Alternative A. The

BLM's lack of discussion of buffer zones does not render its decision arbitraiy or

capricious.

   2. Greater Sage Grouse

          a. Petitioners Properly Raised Their Concerns About the Sage Grouse in

              the Public Comment Period.


       The BLM argues Petitioners did not make a specific public comment about

conducting additional studies in the WCAs.(ECF No. 57 at 22-23.) Since the BLM did

not have an opportunity to review and respond to a comment during the administrative

process. Petitioners are barred from asserting this claim to the Court. {Id.) The BLM also

argues Petitioners' comments never raised the issue of phased development in order to

comply with FLPMA,so Petitioners should also be prohibited from raising the issue now.

(ECF No. 57 at 25.)

      Jonah echoes this argument, stating Petitioners did not advance either ofthe greater

sage grouse arguments now before the Court and Petitioners should not now be allowed to

assert technical issues such as violations of NEPA and FLPMA.(ECF No. 59 at 25.) No

organization raised concerns during the public comment period that 40 C.F.R. § 1502.22


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required BLM to acquire additional data before issuing the ROD. {Id.) Likewise,

Petitioners did not assert the ROD would violate the 2015 Sage Grouse RMP.{Id.)

       Petitioners' challenge the BLM's compliance with NEPA, but in order to bring this

claim in federal court, Petitioners must have exhausted available administrative remedies.

Ark Initiative v. United States Forest Service^ 660 F.3d 1256, 1261 (10th Cir. 2011). Any

relevant objections must usually be raised during the public comment period. Sierra Club,

Inc. V. Bostick, 787 F.3d 1043, 1048 (10th Cir. 2015). However, there are two exceptions:

(1) where commenters need not point out an environmental assessment's "obvious" flaw;

and (2) a commenter does not waive an issue if it is otherwise brought to the agency's

attention. Id.


       The comment must have been presented in sufficient detail so the agency can take

steps to address the complaint. Ark Initiative, 660 F.3d at 1261. However, claimants are

not required to use precise legal formulations or magic words when raising claims. Jarita

Mesa Livestock Grazing Ass'nv. United States Forest Service, 140F.Supp.3d 1123, 1185

(D.N.M. 2015).

       The National Audubon Society submitted a comment explicitly asking the BLM to

follow 40 C.F.R. § 1502.22.(BLM076911.)This comment also stated a failure to evaluate

complete data on WCAs would violate NEPA. {Id.) The National Wildlife Federation

submitted a comment requesting the BLM conduct additional research on WCAs before

issuing drilling permits and expressing concern over the lack of research available, despite

development being allowed under Alternative B.(BLM076985.)This comment echoed the

requirement that the agency follow 40 C.F.R. § 1502.22. {Id.) These comments are


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sufficient to raise the issue of conducting additional research in WCAs before permitting
development. Petitioners have exhausted their administrative remedies on this issue.

       Turning to whether Petitioners sufficiently raised the FLPMA violation claims

during the administrative process, Petitioners claim they are not required to raise this issue

because it falls under the "obvious" exception to exhaustion of administrative remedies.

(ECF No. 62 at 26.) When an EIS's flaws are so obvious, there is no need for a

commentator to point them out. Dep't of Trans. V. Public Citizen, 541 U.S. 752, 765

(2004). The BLM was aware it needed to comply with the resource design features of the

2015 Sage Grouse RMP.(BLMO15436;BLMO15450.)Jonah Energy and the BLM worked

together to discuss phased development, to ensure compliance with the RMPs.

(BLMO 15450.) The BLM later discussed removing the phased development plan as

"discretionary" in an email.(BLMO 15699.) The BLM was already aware of the need to

comply with FLPMA and contemplated this independently. There was no need for

Petitioners to specifically raise the issue of FLPMA compliance. Petitioners' comment on

this issue would not have served any purpose—the BLM was already aware the project

needed to comply with the RMP and was working towards that goal. The Court finds

Petitioners meet the exception to administrative exhaustion and the FLPMA compliance

issues are properly before this Court.

          b. BLM Did Take a Hard Look at the NPL Project's Impacts on Sage

              Grouse Populations.

      NEPA requires federal agencies to "take a hard look" at the environmental

consequences of the proposed actions. Pennaco Energy, Inc. v. United States Dep't of

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Interior, 377 F.3d 1147, 1150 (10th Cir. 2004). The standard only requires the agency to

adequately identify and evaluate environmental concerns—beyond this, agencies are not

required to take any further action. Id. To meet this standard, the agency must prepare an

EIS, comparing the environmental impact ofthe proposed action to impacts of alternatives.

42 U.S.C § 4332(C).

       Petitioners contend the BLM failed to obtain baseline data on WCAs.(ECF No. 52

at 49.) The BLM recognized significant gaps in available research on sage-grouse use of

WCAs in the Project Area but declined to gather this data before issuing the ROD.{Id. at

50.) The BLM plans to conduct these studies concurrently with NPL project development,

rather than assessing impacts to sage grouse beforehand.{Id.)Instead, the Project itself will

be used to test the effects of development on sage grouse. {Id. at 52(citing BLM128346)).

Respondents contest this rendition of the facts, stating Petitioners ignore that, under any

proposed alternative, the BLM would not authorize development in WCAs until additional

research has been conducted to better understand potential effects on sage grouse.(ECF

No. 57 at 19(citing BLM128994). The Final EIS summarizes available research on WCAs

but restricts any further development until more studies are conducted. {Id. at 20.) This

site-specific authorization requirement satisfies NEPA and further analysis before issuing

a decision is not required by the law. {Id. at 21 (citing Sierra Club v. Robertson, 810 F.

Supp. 1021, 1030(W.D. Ark. 1992)).

       Federal regulations specify how an agency should proceed when faced with

Incomplete or unavailable infonnation. 40 C.F.R.§ 1502.21. The agency must make it clear

that the infonnation is lacking. § 1502.21(a). If the incomplete information is essential to


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a reasoned choice among alternatives, and the overall costs to obtain the information is not

unreasonable, the agency should collect the data and include it in the EIS. § 1502.21(b). If
the information is not obtainable because of exorbitant cost or the agency is not able to

collect the data, the agency must include in the EIS:(1)a statement that the information is

incomplete or unavailable;(2)a statement ofthe relevance ofthe incomplete or unavailable
information; (3) a summary of existing credible scientific evidence that is relevant to

evaluating the reasonable foreseeable impacts of the project; and (4) the agency's

evaluation ofsuch impacts based on the available data. § 1502.21(c).

        To demonstrate a violation of NEPA, based on failure to include data, Petitioners

must show (1) the missing information is essential to a reasoned decision between the

alternatives; and (2) that the public was unaware of the limitations of the data the agency
did rely on. Trout Unlimited v. United States Dep't ofAgriculture, 320 F.Supp.2d 1090,

1111 (D. Colo. 2004)(citing Colo. Env't Coalition v. Dombeck, 185 F.3d 1162, 1172-73

(10th Cir. 1999)). Petitioners argue the missing data was essential to a reasoned decision,

because WCAs are important to maintaining sustainable sage grouse populations and have
a high conservation value. (ECF No. 52 at 55.) Other studies indicate development in

WCAs has a high risk of sage grouse population decline {Id. at 56.) Without the baseline

data on WCAs, the BLM could not comprehend the potential for sage grouse population

loss. {Id.)

       The Court disagrees that this information was essential to reasoned decision making.

The BLM acknowledged in the Final EIS "the potential impacts on sage-grouse resulting
from development in the NPL Project Area Winter Concentration Areas are not well


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understood."(BLM128302.)However,the BLM did have the benefit ofreviewing the 2015
RMP, which discussed WCAs as a PHMA. (BLM053417.) The 2015 RMP imposes

seasonal timing restrictions on development in WCAs(BLM053195)and allows the BLM

to grant exceptions to the restrictions if the BLM and WGFD determine the exception

would not adversely impact the population being protected (BLM053286). The BLM did

not allow development in WCAs without baseline data, but instead relied upon the 2015

RMP. The ROD authorizes limited development in WCAs with seasonal timing

limitations, in accordance with the 2015 RMP.(BLM 127844; BLM053441); see Trout

Unlimited, 320 F.Supp.2d at 1111 (using other analyses to inform decision when data was

limited was sufficient to satisfy NEPA requirements).

       Additionally, the BLM explicitly states, under any alternative, no development will

be authorized in WCAs "until additional research is conducted to better inform the

appropriate level of development, potential impacts, and appropriate mitigation in sage-

grouse winter concentration areas."(BLM128994.) The BLM reiterates in the ROD that

the study will inform which WCA development scenario proceeds.(BLM 127843.) The

BLM initially authorized Scenario 1, but the results of the study may affect this, and the

BLM reserves the right to switch to Scenario 2. (BLM 127844.) BLM also had some

baseline data, although minimal, from the "flight day" studies.(BLM128627.)

      Furthermore, it does not appear the baseline data is necessary for the BLM to make

an informed decision. While Petitioners contend it was necessary to determine the effects

of development on WCAs, it appears the BLM is already aware of the effects. The Final

EIS notes sage grouse are susceptible to loss of winter habitat from the NPL Project as


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proposed.(BLM128991.)It also notes the sage-grouse are likely to suffer decreased quality

of habitat following surface disturbance. {Id.) The Final EIS recognizes "recent studies

shows oil and gas development can affect sage grouse during their entire life cycle and can

contribute to displacement of sage-grouse from [these areas]."(BLM 128992.) The Final

EIS notes any increased development could negatively affect the sage grouse population.

(BLM128993.)

       Looking at WCAs specifically, the Final EIS acknowledged the Proposed Action

would have short-term and long-term effects on WCAs, partially because WCAs are

authorized at a higher development density than PHMAs.(BBLM128993.) The Final EIS

reiterates sage grouse populations could face similar displacement under Alternative B,

Scenario 1, although the effects may be slightly less drastic because this Alternative would

be a 7.9% decrease in surface disturbance compared to the proposed action.(BLMl29033.)

It does not appear more baseline data is necessary for the BLM to evaluate the impacts of

the project on sage grouse. The Final EIS indicates the BLM was aware of the impacts to

sage grouse, including loss of winter habitat, avoidance ofthe area, and adverse impacts to

the overall population.(BLM128995.)NEPA only prohibits uniformed, rather than unwise

decision making. Robertson v. Methow Valley Citizens Council^ 490 U.S. 332, 351 (1989).

The BLM made an informed decision based on the available data.




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          Petitioners do not show how baseline data was essential to a reasoned decision.^'

 Accordingly,Petitioners' arguments on this claim fail. Dombeck, 185 F.3d at 1173(holding
 the plaintiffs failed to show how additional, site specific data was essential to a reasoned

 decision, where the agency was aware of the scarcity of data and used relevant, available

 information to come to its final decision); Trout Unlimited, 320 F.Supp.2d. at 1111
(holding the agency complied with NEPA when plaintiffs could not show the missing
information was necessary to a reasoned decision); High Country Conservation Advocates
V. United States Forest Service, 52 F.Supp.3d 1174, 1194(D. Colo. 2014); Rags Over the

Arkansas River, Inc. v. Bureau ofLand Management, 11 F.Supp.3d 1038, 1049(D. Colo.
2015).

              c. BLM Did Not Violate FLPMA by Failing to Comply with the 2015 Sage

                   Grouse RMP.


         Finally, Petitioners argue the BLM failed to comply with FLPMA because the ROD

did not follow the 2015 Sage Grouse RMP.(ECF No. 52 at 58.) The Federal Land Policy
and Management Act requires BLM actions to conform with Resource Management Plans.

43 C.F.R. § 1610.5-3(a). The 2015 RMP requires any development within PHMAs to

implement a phased approach to development—this is a required design feature ("RDF")
for any oil and gas projects in the habitat.(ECF No. 52 at 58(citing BLM139504)). RDFs


  Petitioners cite to a case from the Ninth Circuit where the court held baseline data on sage grouse was necessary
for a complete EiS. Plains Resource Council, Inc. v. Surface Transp. Bd,668 F.3d 1067, 1084-86 (9th Cir. 2011).
The case is not binding precedent on this Court. Regardless, the case is further distinguishable because the only data
collected on sage grouse was the total acreage of sage grouse habitat within the project area. Id. at 1084. Here, the
BLM had much more data to rely on when making a decision, including maps of sage-grouse PMHA, WCAs,and
other sage grouse habitat not specifically designated by WGFD but known to be used by sage grouse.'          e.g.,
BLM128994.) The BLM here relied on substantially more data than the Board in Plains Resource Council.


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are required for activities within sage grouse habitat, unless the NEPA analysis shows a
specific RDF is not applicable to site-specific conditions of the project or an alternative

RDF or other conservation measure will provide equal or better protection to sage grouse

and sage grouse habitat.(BLM139502.)

       Respondents counter this, arguing despite Petitioners' contentions, the BLM did

consider a phased development approach but properly rejected the alternative.(ECF No.

58 at 59.) Under the 2015 RMP,the BLM did not need to implement phased development

if analysis showed there were better site-specific conditions. {Id at 60. (citing

BLM139502)). This action is also consistent with FLPMA. {Id.) The BLM considered

phased development in Alternative A but ultimately chose Alternative B because it more

closely aligned with the purpose and needs of the project. {Id. at 58.) Besides the options

discussed in Alternative A and B, the BLM also considered a paced development option,

but eliminated this from consideration early because it was not technically or economically

feasible. {Id. at 62.)

       The ROD is very clear that site-specific permitting will begin once Jonah Energy

identifies the precise locations of the proposed wells.(BLM127835; BLM127860.) Once

Jonah requests the site-specific permits, the BLM will conduct a site-specific

environmental review. (BLM127836.) "Some resource protection measures will be

included as COAs during permitting for site-specific development of the NPL Project, as

applicable[.]"(BLM127854.) Discussing sage grouse habitat specifically, the ROD notes

the BLM will make site-specific determinations to appropriately mitigate impacts to sage




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 grouse. (BLM127859.) The BLM committed to apply RDFs from the 2015 RMP as

 applicable.(BLM 127899.)

          The BLM also recognized several variables affect the project beyond the BLM's

 control, namely: "production success, appropriate engineering technology, economic

factors, commodity processes, availability of commodity markets, the availability of
 appropriate equipment, and a trained workforce, and regulatory constraints[.]"

(BLM128308.) This falls under the first exception to implementing RDFs—when "a
specific RDF is documented not to be applicable to the site-specific conditions of the

project/activity (e.g., due to site limitations or engineering considerations)."

(BLM053287.) Phased development was considered as a part of Alternative A

(BLM128655) but rejected because of these constraints {See BLM127865)("[Alternative
B] will allow development on valid existing leases throughout the NPL Project Area and
will best meet the purpose and needs ofthe project)(emphasis added).

         The BLM considered phased development but the decision to reject Alternative A

in favor of Alternative B was not contrary to the RMP or FLPMA.^^ The RMP

acknowledges this type of situation where RDFs may not be applicable until site specific

determinations.(BLM053287.) After site specific analysis, some RDFs may not even be
applicable. The BLM has not analyzed site-specific constraints on this project yet and will

-- The District of Idaho considered the sister case to this action in Western Watersheds Project v. Bernhardt, 543
F.Supp.Bd 958 {D. Idaho 2021)appeal docketed. No. 21-35673 {9th Cir. Aug. 17,2021), There, the magistrate judge
held the BLM did act arbitrarily and capriciously by rejecting plaintiffs proposed alternatives requesting deferral of
parcels designated as PHMA for sage grouse. Id. at 983. The BLM only considered two alternatives; the no action
alternative and the proposed action. Id. at 982. The magistrate judge further found BLM failed to provide adequate
explanation for the rejection of the proposed alternative. Id. at 984. This is distinguishable from the case here, where
the BLM considered four potential alternatives and gave sufficient detail in the Final EIS and ROD detailing why
phased development was ultimately rejected.


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not do so until Jonah submits permit applications for precise drill site locations.

(BLM127836.)The RMP contemplates such a situation where site-specific decisions may
affect certain RDF applicability.(BLM053287.)The BLM complied with FLPMA and the
RMP in deciding on Alternative B. See Oregon Natural Desert Ass'n v. Shuford, No. 06-
242, 2007 WL 1695162, at *13 (D. Oregon June 8, 2007)(holding the BLM was not

required to analyze alternatives under the RMP when such alternatives would not be

feasible or consistent with the BLM's management duties); Theodore Roosevelt

Conservation Partnership v. Salazar, 616 F.3d 497, 510 (D.C. Cir. 2010)(holding there
was no FLPMA violation where the BLM reasonably decided the proposed development
encompassed the RMP requirements); Cascadia Wildlands v. Bureau of Land
Management, 4410 F.Supp.3d 1146, 1155 (D. Oregon)(upholding BLM action where it
was not "plainly inconsistent" with governing RMPs).




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                                      Conclusion

       Based upon a complete review of the administrative record in this matter, there is
substantial evidence to support the reasoned basis for BLM's decisions in this matter. The

BLM took a "hard look" at the environmental consequence and considered all relevant

information when making its ROD and deciding the best altemative to balance the goals of
the NPL Project and the potential environmental impacts. Petitioners have not

demonstrated the BLM's decision to approve Altemative B for the NPL Project violated
NEPA, was arbitrary or capricious, or was otherwise contrary to law.

      IT IS THEREFORE ORDERED that the BLM's Record of Decision on the

Nomially Pressured Lance Project is AFFIRMED.

      Dated this O      day of April, 2022.




                                   >cott W. Skavdahl
                                  United States District Judge




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